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IN THE UNITED STATES DISTRICT CoURT jpw
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WESTERN DIVISION
time -3 P“ 5" ‘9
UNITED STATES OF AMERICA )
Plaintiff, §
VS § CASE NO. 2:04CR20262-Ml
HERMAN HUGHES §
Defendant. ):

 

ORDER TO SURRENDER

 

The defendant, Herman Hughes, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI FORREST
CITY, P.O. Box 7000, Forrest City, AR 72335 by 2:00 p.m. on WEDNESDAY, AUGUST 31,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Oft'lce Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the § day of August, 2005.

wlth

PHIPPS McCALLA
ITED STATES DISTRIC'I` JUDGE

   

 

This document entered on the docket she t In compliance
With Huie 55 and/or 32(b) FHCrP on ' 'O y

  

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, i“lne or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 42 in
case 2:04-CR-20262 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

